4/18/22, 10:56 AM                          Case 4:22-cv-00166-MW-MJF     Document
                                                                 Florida Rejects         4-3
                                                                                 Publishers’     Filed
                                                                                             Attempts     04/22/22
                                                                                                      to Indoctrinate     Page 1 of 3
                                                                                                                      Students




 Skip to Content




   Florida Rejects Publishers’ Attempts to Indoctrinate Students

   April 15, 2022

   FDOE Press Office
   850-245-0413
   DOEPressOffice@fldoe.org


                           Florida Rejects Publishers’ Attempts to Indoctrinate Students
   Tallahassee, Fla., April 15, 2022 – Today, Commissioner of Education Richard Corcoran approved Florida’s initial adoption list for
   mathematics instructional materials properly aligned to Florida’s Benchmarks for Excellent Student Thinking (B.E.S.T.) Standards. The
   approved list followed a thorough review of submissions at the Department, which found 41 percent of the submitted textbooks were
   impermissible with either Florida’s new standards or contained prohibited topics – the most in Florida’s history. Reasons for rejecting
   textbooks included references to Critical Race Theory (CRT), inclusions of Common Core, and the unsolicited addition of Social Emotional
   Learning (SEL) in mathematics. The highest number of books rejected were for grade levels K-5, where an alarming 71 percent were not
   appropriately aligned with Florida standards or included prohibited topics and unsolicited strategies. Despite rejecting 41 percent of materials
   submitted, every core mathematics course and grade is covered with at least one textbook.

   Overall, Florida is initially not including 54 of the 132 (41 percent) submitted textbooks on the state’s adopted list. The full breakdown is below:

      78 of 132 total submitted textbooks are being included on the state’s adopted list.
      28 (21 percent) are not included on the adopted list because they incorporate prohibited topics or unsolicited strategies, including CRT.
      12 (9 percent) are not included on the adopted list because they do not properly align to B.E.S.T. Standards.


https://www.fldoe.org/newsroom/latest-news/florida-rejects-publishers-attempts-to-indoctrinate-students.stml?fbclid=IwAR3VmsKzNvJawEfuD5t5k315p0An9SLOs7TcBgkokQ9P8Iw31Ka1IPnl6CI   1/3
4/18/22, 10:56 AM                          Case 4:22-cv-00166-MW-MJF     Document
                                                                 Florida Rejects         4-3
                                                                                 Publishers’     Filed
                                                                                             Attempts     04/22/22
                                                                                                      to Indoctrinate     Page 2 of 3
                                                                                                                      Students

      14 (11 percent) are not included on the adopted list because they do not properly align to B.E.S.T. Standards and incorporate prohibited
      topics or unsolicited strategies, including CRT.
      Grades K-5: 71 percent of materials were rejected.
      Grades 6-8: 20 percent of materials were rejected.
      Grades 9-12: 35 percent of materials were rejected.

   “It seems that some publishers attempted to slap a coat of paint on an old house built on the foundation of Common Core, and indoctrinating
   concepts like race essentialism, especially, bizarrely, for elementary school students,” said Governor Ron DeSantis. “I’m grateful that
   Commissioner Corcoran and his team at the Department have conducted such a thorough vetting of these textbooks to ensure they comply
   with the law.”

   “We’re going to ensure that Florida has the highest-quality instructional materials aligned to our nationally-recognized standards,” said
   Commissioner of Education Richard Corcoran. “Florida has become a national leader in education under the vision and leadership of
   Governor DeSantis. When it comes to education, other states continue to follow Florida’s lead as we continue to reinforce parents’ rights by
   focusing on providing their children with a world-class education without the fear of indoctrination or exposure to dangerous and divisive
   concepts in our classrooms.”

   Florida’s transparent instructional materials review process ensures the public has the opportunity to review and comment on submitted
   textbooks. The instructional materials process allows Florida to prevent publishers from incorporating inappropriate, ineffective, or
   unsolicited concepts and strategies into instructional materials that will dilute the quality of Florida’s nationally-recognized education system.

   In 2019, Governor DeSantis issued Executive Order 19-32 to set Florida on the path to eliminate Common Core, develop world-class education
   standards, and increase the quality of instructional materials, and this textbook adoption is another important step in affirming Florida’s
   commitment to high-quality, lawful and world class instruction.

   In 2021, the Florida Department of Education (FDOE) called for bids from publishers to submit proposed mathematics instructional materials
   to be included on the state’s adopted list. Florida has been clear that instructional materials must first and foremost be aligned to Florida’s
   new B.E.S.T. Standards. In fact, FDOE proactively informed publishers in June 2021 that textbooks must align to the B.E.S.T. Standards, state
   laws regarding required instruction, and that they should not incorporate unsolicited strategies such as SEL in their instructional materials.

   It is unfortunate that several publishers, especially at the elementary school grade levels, have ignored this clear communication and have
   attempted to slip rebranded instructional materials based on Common Core Standards into Florida’s classrooms, while others have included
   prohibited and divisive concepts such as the tenants of CRT or other unsolicited strategies of indoctrination – despite FDOE’s prior
   notification.

https://www.fldoe.org/newsroom/latest-news/florida-rejects-publishers-attempts-to-indoctrinate-students.stml?fbclid=IwAR3VmsKzNvJawEfuD5t5k315p0An9SLOs7TcBgkokQ9P8Iw31Ka1IPnl6CI   2/3
4/18/22, 10:56 AM                          Case 4:22-cv-00166-MW-MJF     Document
                                                                 Florida Rejects         4-3
                                                                                 Publishers’     Filed
                                                                                             Attempts     04/22/22
                                                                                                      to Indoctrinate     Page 3 of 3
                                                                                                                      Students

   Although not included on the state’s initial adopted list, publishers have the ability to appeal any non-adoption decision. Publishers also have
   the ability to substitute or revise their submitted bids to be included on the state’s adopted list if the substitution or revision of submitted
   instructional materials ultimately meets Florida’s bid specifications.

   To access more information regarding instructional materials, visit https://www.fldoe.org/academics/standards/instructional-materials/.

   To access the complete list of the state’s current adopted list, visit
   https://www.fldoe.org/core/fileparse.php/5574/urlt/2122MathAdoptedMaterials.pdf.

   Read More News...




https://www.fldoe.org/newsroom/latest-news/florida-rejects-publishers-attempts-to-indoctrinate-students.stml?fbclid=IwAR3VmsKzNvJawEfuD5t5k315p0An9SLOs7TcBgkokQ9P8Iw31Ka1IPnl6CI   3/3
